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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                            §
                                                    §
V.                                                  §   CASE NO. 1:11-CR-111(3)
                                                    §
VINCE MARTIN SATTLER                                §


                               ORDER ADOPTING
                    FINDINGS OF FACT AND RECOMMENDATION

       The Court referred this matter to United States Magistrate Judge Keith F. Giblin, at Beaumont,

Texas, for consideration pursuant to 28 U.S.C. § 636(b) and the Local Rules for the United States

District Court for the Eastern District of Texas. In accordance with 18 U.S.C. § 3401(i) and 18 U.S.C.

§ 3583(e), Judge Giblin held a hearing and submitted findings of fact and a recommendation on the

revocation of the defendant’s supervised release.

       Having conducted the proceedings in the form and manner prescribed by the Federal Rules of

Criminal Procedure and 18 U.S.C. § 3583, the magistrate judge issued his Findings of Fact and

Recommendation on Plea of True [Clerk’s doc. #191]. The magistrate judge recommended that the Court

revoke the defendant’s supervised release and impose a term of imprisonment for the revocation with

an additional supervision to follow.



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        The parties have not objected to Judge Giblin’s report. Accordingly, after review, the Court

concludes that the Findings of Fact and Recommendation should be accepted.

       It is ORDERED that the Findings of Fact and Recommendation [Clerk’s doc. #191] are

ADOPTED. The Court finds that Defendant, Vance Martin Sattler, violated conditions of his

supervised release. The Court accordingly ORDERS that the Defendant’s term of supervision is

REVOKED. Pursuant to the magistrate judge’s recommendation, the Court ORDERS Defendant to

serve a term of five (5) months imprisonment for the revocation, with a new two (2) year term of

supervision to follow.

        SIGNED this the 21 day of September, 2015.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge




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